           Case 1:20-cr-00052-DLC Document 149 Filed 12/31/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------- X
                                         :
 UNITED STATES OF AMERICA                :       S1 20cr052-01
                                         :           (DLC)
                 -v-                     :
                                         :           ORDER
 FERNANDO DISLA,                         :
                          Defendant.     :
                                         :
 --------------------------------------- X

DENISE COTE, District Judge:

     Pursuant to defense counsel’s letter of December 8, 2020

requesting that the Court schedule the change of plea hearing to

occur either by videoconference or by telephone conference, at

the consent of the defendant, the Court issued an Order

scheduling the defendant’s plea proceeding for January 5, 2021

at 9:00 a.m. via a videoconference proceeding.

     Due to the recent spike in COVID-19 cases and the resultant

increase in demand for videoconference proceedings, a

videoconference proceeding is not available on that date.

Accordingly, it is hereby

     ORDERED that the plea proceeding shall proceed as scheduled

on January 5, 2021 at 1112:00 pa.m. as a telephone conference.

The parties shall use the following dial-in credentials for the

telephone conference are the following:

          Dial-in:       888-363-4749
          Access code:   4324948
           Case 1:20-cr-00052-DLC Document 149 Filed 12/31/20 Page 2 of 2




     In accordance with the Court’s Emergency Individual Rules      Formatted: Indent: First line: 0.5"

and Practices in Light of COVID-19, available at

https://www.nysd.uscourts.gov/sites/default/files/practice_docum

ents/DLC%20Cote%20COVID-19%20Emergency%20Practices%20-

%20May%2013%2C%202020.pdf, counsel should adhere to the

following rules and guidelines during the hearing:

     1. Each party should designate a single lawyer to speak on
        its behalf (including when noting the appearances of
        other counsel on the telephone).

     2. Counsel should use a landline whenever possible, should
        use a headset instead of a speakerphone, and must mute
        themselves whenever they are not speaking to eliminate
        background noise. In addition, counsel should not use
        voice-activated systems that do not allow the user to
        know when someone else is trying to speak at the same
        time.

     3. To facilitate an orderly teleconference and the creation
        of an accurate transcript, counsel are required to
        identify themselves every time they speak. Counsel
        should spell any proper names for the court reporter.
        Counsel should also take special care not to interrupt or
        speak over one another.

     4. If there is a beep or chime indicating that a new caller
        has joined while counsel is speaking, counsel should
        pause to allow the Court to ascertain the identity of the
        new participant and confirm that the court reporter has
        not been dropped from the call.

Dated:    New York, New York
          December 30, 2020


                               ____________________________
                                        DENISE COTE
                               United States District Judge




                                 2
